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                 IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION


ZENIMAX MEDIA INC. and         §
ID SOFTWARE, LLC,              §
                               §
          Plaintiffs,          §
                               §
v.                             §                Civil Action No. 3:14-CV-1849-K
                               §
OCULUS VR LLC, PALMER LUCKEY, §
FACEBOOK, INC., BRENDAN IRIBE, §
and JOHN CARMACK,              §
                               §
          Defendants.          §

                                FINAL JUDGMENT

      On January 9, 2017, the Court called this case for trial. Plaintiffs ZeniMax

Media Inc. and id Software, LLC (collectively “Plaintiffs”) appeared through their

attorneys of record and announced ready for trial.     Defendants Oculus VR, LLC

(“Oculus”), Palmer Luckey, Facebook, Inc. (“Facebook”), Brendan Iribe, and John

Carmack appeared in person or through their attorneys of record and announced

ready for trial. The Court determined that it had jurisdiction over the subject matter

and over Plaintiffs and Defendants. The Court impaneled and swore the jury, which

heard the evidence and arguments of counsel.        The Court submitted questions,

definitions, and instructions to the jury. The jury returned a unanimous verdict on

February 1, 2017, part of which was in favor of Plaintiffs and part of which was in

favor of Defendants.



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      In accordance with the jury’s verdict in this matter and the Court’s orders on

post-trial matters entered this same date, the Court hereby enters this Final

Judgment. It is hereby ORDERED, ADJUDGED, and DECREED that:

      1. Plaintiffs shall recover from Defendant Oculus in the principal sum of

$200,000,000.00 on Plaintiffs’ breach of contract claim, plus prejudgment interest

calculated as simple interest from May 21, 2014 until the date of entry of this

judgment at the rate of five (5) percent per annum.

      2. Plaintiffs shall recover from Defendant Oculus in the principal sum of

$50,000,000.00 on Plaintiffs’ copyright infringement claim, plus prejudgment

interest calculated as simple interest from December 11, 2012 until the date of entry

of this judgment at the rate of five (5) percent per annum.

      3. Plaintiffs are awarded recovery of post-judgment interest on all monetary

awards herein at the interest rate provided by 28 U.S.C. § 1961.

      4.   As to Plaintiffs’ conversion claim against Defendant Carmack, judgment is

entered in favor of Plaintiffs, but Plaintiffs recover no damages on this claim.

      5.   As to all other claims asserted in this matter by Plaintiffs, judgment is

entered in favor of Defendants and against Plaintiffs. Plaintiffs shall take nothing on

these claims.




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      6. As to the counterclaim Defendant Carmack asserted against Plaintiff

ZeniMax, judgment is entered in favor of Plaintiff ZeniMax. Defendant Carmack

shall take nothing on this claim.

      This is a final judgment with respect to all claims and all parties.

      SO ORDERED.

      Signed June 27th, 2018.


                                        ___________________________________
                                        ED KINKEADE
                                        UNITED STATES DISTRICT JUDGE




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